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                                    No. 21-55183

               UNITED STATES COURT OF APPEALS
                    FOR THE NINTH CIRCUIT


                                   CHRIS LANGER
                                Plaintiff and Appellant
                                          vs.
                             MILAN KISER, DIANA KISER
                              Defendants and Appellees.


                    On Appeal from the United States District Court
                           Southern District of California,
                          the Honorable Roger T. Benitez
                              2:18-CV-06338 PSG-GJS


                            BRIEF OF AMICI CURIAE:

Chinatown Merchants United Association of San Francisco, San
Francisco Bar Owner Alliance, Excelsior Action Group, Lakeside
Village Business Counsel, Mission Merchants Association, Haight
Ashbury Merchants Association, Excelsior Outer Mission Merchants,
Valencia Corridor Merchants Association, Balboa Village Merchants
Association, Glen Park Merchants Association, Jack Sen Benevolent
Association, Hop Wo Benevolent Association, Quong Fook Tong
Association and Yee Fung Toy Family Association

 IN SUPPORT OF MILAN KISER, DIANA KISER PETITION FOR
                 REHEARING EN BANC

                 All Parties have consented. Circuit Rule 29-2(a).



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                        STATEMENT OF AUTHORSHIP

         Pursuant to Federal Rule of Appellate Procedure 29(a)(4)(E), Amici

Curiae certify that:

    1. No counsel for either party authored this brief in whole or in part;

    2. No party or party’s counsel contributed money that was intended to

         fund the preparation or submission of this brief; and

    3. No person other than the named Amici Curiae, its members, or its

         counsel contributed money that was intended to fund the preparation

         or submission of this brief.


Dated: February 16, 2023
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                  CERTIFICATE OF INTERESTED PERSONS

         Pursuant to Federal Rule of Appellate Procedure 26.1, Amici Curiae

make the following disclosures:

     1. Amici are not publicly held corporations;

     2. Amici have no parent corporations; and

     3. Amici do not have 10% or more of stock owned by a corporation.


Dated: February 16, 2023
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                CONSENT OF PARTIES TO FILING OF BRIEF
                          Circuit Rule 29-2(a)

         Pursuant to Circuit Rule 29-2(a), the undersigned attests that all

parties to the proceeding have consented to the filing of the brief Amicus

Curiae of Chinatown Merchants United Association of San Francisco, et

al.


Dated: February 16, 2023
                              SHEPPARD, MULLIN, RICHTER & HAMPTON
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                          STATEMENT OF INTEREST

         Amici Curiae are subjected at a far higher rate to predatory

Americans with Disabilities Act (“ADA”) litigation because serial

ADA plaintiff’s lawyers recognize that the justice gap makes them

far more likely to settle cases quickly and without prolonged

litigation.             Amici   Curiae   are     fourteen   (14)   not-for-profit

organizations representing well over 1,000 small business members.

They are a diverse group, both in the type of goods and services

their businesses offer to the public and in their race, color, religion,

ancestry, national origin, gender, sexual orientation, age, disability

and socioeconomic class. Yet, notwithstanding these differences,

Amici Curiae have come together as a community of collective

voices to move this Court to consider the importance of granting the

Kisers’ Petition for En Banc review.                  For Amici Curiae, the

consequences of the Langer v. Kiser (Langer v. Kiser, ___ F.4th

___, 2023 U.S. App. LEXIS 1637, 2023 WL 353215 (9th Cir.

2023)) decision will greatly impact their livelihood, families,

communities and trust and belief in the American judiciary. Indeed,

Amici Curiae’s unity in filing the instant brief speaks volumes about

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the enormity of the consequences they will face if Langer v. Kiser

stands.

         Amici Curiae ask this Court to contemplate how the rights of

the disabled guaranteed by the ADA can coexist with Amici

Curiae’s rights under the Constitution to have meaningful access to

justice, equal representation and protected from meritless litigation.

As the number of ADA cases filed by only a handful of serial

litigants, and even fewer law firms, continue to explode and grow in

this judicial circuit, Amici Curiae have been disproportionately

impacted in large part because their members represent marginalized

communities with little-to-no meaningful access to justice.

Opportunistic lawyers capitalize on Amici Curiae’s general lack of

familiarity with, and trust in, the American legal system, language

barriers, educational inequities and economic constraints, to extract

large cash settlements in exchange for dismissals of often

unmeritorious ADA lawsuits. Amici Curiae are virtually powerless

to fight back.

         While these predatory lawyers claim to be “Officers of the

Court,” touting the virtues of promoting the ADA, in reality, they

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extort the most vulnerable among us and do so without any

consequence.            The downstream impact of this type of serial

litigation is felt far beyond Amici Curiae. These serial lawsuits

damage communities already facing manifestations of poverty

including substandard housing, hunger, homelessness, inadequate

childcare, unsafe neighborhoods, and under-resourced schools and

destroy any illusion of living the “American dream.” As these serial

lawsuits ravage local communities, resulting in closed storefronts

and lost jobs, perhaps most tragically, for Amici Curiae is their

hopelessness about the American judicial system as they

acknowledge that the guarantee of rights under the Constitution are

merely legal constructs which do not apply to them.

         The ADA was simply never intended to be used as a business

opportunity for unscrupulous lawyers to generate tens of millions of

dollars off the backs of hard-working small business owners, many

of whom are minority, immigrant and low-income Americans, who

make-up the backbone of California’s economy. Make no mistake,

these ADA lawsuits are not about promoting the ideals of the ADA;

but rather, they are about the illegitimate transfer of wealth from

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historically marginalized communities and into the pockets of ADA

plaintiff’s lawyers.

         The Constitutional requirement of Article III standing is a

fundamental principle underlying our judicial system. It serves as a

gatekeeper to prevent lawyers from filing baseless lawsuits and

stands as a safety net for the under-represented and the weakest

among us. The Langer v. Kiser decision has effectively eviscerated

Article III standing in ADA litigation. The consequence of this

decision will not only be to further the justice gap, but it will also

destroy California’s already fledgling small business community

still reeling from the impacts of the COVID-19 pandemic.

         Amici Curiae include the following organizations:

         1.       Chinatown Merchants United Association of San
                  Francisco (CMUASF)
         The CMUASF is a non-profit with over 150 merchant

members. It is committed to serving and supporting the merchants

that operate in San Francisco’s historic Chinatown district which has

been an integral part of San Francisco’s rich and historic Chinese

community.


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         2.       San Francisco Bar Owner Alliance (SFBOA)
         The SFBOA has over 500 bar owner members. It serves to

ensure San Francisco’s bar scene is vibrant, responsible and

affordable and protects the interests of San Francisco’s bar, tavern,

cocktail lounges, wine bar, beer hall and liquor-heavy restaurants.

         3.       Excelsior Action Group
         The EAG’s mission is to develop and sustain underserved

commercial corridors through small-business capacity building,

public and private activation, community real estate and city liaison

services, and policy advocacy and activities throughout the

community. EAG serves over 500 businesses operating along the

district’s commercial corridor and provides financial and coaching

support to businesses in the Excelsior, Outer Mission and

Oceanview neighborhoods of San Francisco.

         4.       Lakeside Village Business Council (LVBC)
         The LVBC consists of a mixture of businesses, property

owners, and residents. With nearly 500 members, LVBC’s mission

is to support businesses and residents in community efforts to make

Lakeside Village a thriving, safe, fun, inclusive, and beautiful


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neighborhood.

         5.       Mission Merchants Association (MMA)
         The MMA has over 200 merchant members. It represents San

Francisco’s Mission District which is one of the oldest in the City

and was shaped, in part, by the arrival of primarily Central, but also

South American, refugee immigrants from the 1960s through the

1980s. The Mission has historically been the center notable of the

City’s Chicano/Mexican-American community.

         6.       Haight Ashbury Merchants Association (HAMA)
         The HAMA represents approximately 150 storefronts in the

Haight Ashbury commercial corridor. It was established to build

merchant cooperation, promote, protect, improve, market, advertise,

and beautify the historic Haight-Ashbury shopping district and to

enhance the overall visitor experience.

         7.       Excelsior Outer Mission Merchants (EOMM)
         The EOMM represents the Geneva & Mission area of San

Francisco and serves to foster commercial success for local

businesses in the Crocker-Amazon, Excelsior and Outer Mission

Neighborhoods. EOMM merchant members occupy a geographical


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area that serves several neighborhoods including: Crocker-Amazon,

Cayuga Terrace, Excelsior, Mission Terrace and Outer Mission.

These neighborhoods are highly diverse and include: 18-29.9% who

are Seniors with 54% of these Seniors speaking a language other

than English; over 20% of residents are undocumented; 28% are

Latino; 47% are Asian American; and 55% are first generation

Americans.

    8.            Valencia Corridor Merchants Association
(VCMA)
         The VCMA has over 70 merchant members. It is a member-

operated neighborhood association including merchants in and

around the Valencia Corridor. VCMA’s mission is to cultivate and

beautify the corridor for the benefit of visitors, residents and

merchants.

         9.       Balboa Village Merchants Association (BVMA)
         The BVMA has over 30 merchant members. It promotes an

inclusive business community to merchants on Balboa Street from

30th Avenue to 45th Avenue in the Richmond District of San

Francisco. BVMA assists its business and residential community by

focusing on maintenance, security, and marketing efforts.
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         10.      Glen Park Merchants Association (GPMA)
         The GPMA promotes and advocates for small independent

businesses in the special, tight-knit neighborhood adjacent to Glen

Park Canyon in the city of San Francisco.

         11.      Jack Sen Benevolent Association (JSBA), Hop Wo
                  Benevolent Association (HWBA), Quong Fook
Tong              Association (QFTA) and Yee Fung Toy Family
                  Association (YFTFA)
         The JSBA, HWBA, QFTA and YFTFA are benevolent

associations which emerged following the Chinese immigration to

San Francisco in the late 19th and early 20th centuries and have

been in existence for over 150 years. They was formed out of the

need for Chinese immigrants to have organized social, political, and

economic representation.

                        SUMMARY OF ARGUMENT

         At its core, the Kisers’ request for en banc review rests with

this Court’s conclusion that it is entirely permissible for a disabled

plaintiff to sue a business for technical violations of the ADA

without ever visiting it or desiring to visit it for the purpose of

enjoying its goods or services, nor with any intention of ever

returning. Amici Curiae posit that the Court’s conclusion is directly
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contrary to the Constitutional requirement of Article III standing

which necessitates that a plaintiff have a concrete harm for which he

or she needs redress. Without some harm to protect, federal courts,

being courts of limited jurisdiction, cannot hear the case and fashion

a remedy, because the plaintiff has no personal stake in the outcome

of the litigation.

         Importantly to Amici Curiae, the Constitutional requirement of

standing fulfills a vital gatekeeping function performed by the

judicial branch: it keeps out hypothetical and meritless cases by

plaintiffs and thwarts unscrupulous lawyers from using the legal

system as a money making enterprise to extort victims with the

threat of prolonged litigation if quick monetary settlements are not

paid. Irrefutably, the absence of this vital gatekeeping function

disparately impacts the most vulnerable populations among us, like

Amici Curiae, who lack meaningful access to legal services to

defend themselves. And without any legal arsenal, and now without

Article III’s gatekeeping function, the judiciary has, in effect,

stripped these populations of their most basic right of access to

justice and the protections afforded by the Constitution from

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meritless litigation.

         Undoubtedly, the Court’s removal of this vital gatekeeping

function will result in a flood of federal court cases by plaintiff’s

lawyers who will claim hypothetical “cases” or “controversies” by

peddling unharmed plaintiffs from business to business solely for

the purpose of illegitimately transferring wealth from hard-working

small business owners into their own pockets. Such a result will

serve to not only wreak havoc on an already overburdened

California federal court system, but will set a dangerous precedent

for courts in other judicial circuits.

         Indeed, eroding the protections offered by Article III,

particularly in the context of predatory ADA cases, will most

certainly devastate California’s small business community and have

nationwide implications for the approximately 31.7 million small

businesses that operate in the United States, or 99.9% of all U.S.

businesses.1            As aptly recognized by the   U.S. Chamber of

1 Found at www.uschamber.com/small-business/state-of-small-

business-
now#:~:text=Key%20Takeaways%201%20There%20are%2031.7%
20million%20small,the%20health%20of%20large%20corporation
s%20and%20financial%20institutions.
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Commerce:

                  For the economy to thrive, small businesses need to be
                  in a position where they can grow. Their success drives
                  up the economy and national spending, while their
                  downfall can have an incredibly negative impact on the
                  economy and inflation. Generally speaking, if small
                  businesses are not doing well, corporations and financial
                  institutions are also suffering.
Id.
         Aside from the impact that the Court’s decision in Langer v.

Kiser will have on the tens of thousands of small businesses, the

holding is also directly contrary to the express language contained in

the text of the ADA. The ADA was enacted to protect a disabled

person’s right to the enjoyment of the goods and services being

offered in commerce by places of public accommodation. To

allow an ADA “tester” to sue a defendant under the ADA when they

have no intention to use its goods or services undermines the

validity of the statute itself. This was surely not the intended result

by Congress when enacting the ADA since it expressly included the

words “enjoyment”, “commerce” and “goods and services” to limit

the reach of the statute.

         The decision in Langer v. Kiser further erodes the separation

of powers between the judicial, legislative and executive branches of

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government as it creates a right of action for unharmed plaintiffs to

file suit to enforce the ADA against businesses. In passing the

ADA, Congress expressly included in Title III the requirements and

limitations for an ADA plaintiff to sue businesses, including the

desire, attempt or intent to engage in a commercial transaction.

Langer v. Kiser effectively discards this requirement, thereby

allowing private plaintiffs who call themselves “testers” and have no

intention in using or accessing the goods and services of a business

to stand in the role of the executive branch of government and

enforce compliance with the ADA. As the Supreme Court stated in

its 2021 decision in TransUnion v. Ramirez, (2021) 141 S.Ct. 2190,

2207, “Private plaintiffs are not accountable to the people and are

not charged with pursuing the public interest in enforcing a

defendant’s general compliance with regulatory law.” Instead, this

is the function of the executive branch of government.

         This Court must preserve the integrity of Constitutional

standing requirements and the delicate balance of the separation of

powers between the branches of government by de-publishing or

reversing the order of the Court in Langer v. Kiser.

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                             ARGUMENT

I.       Serial ADA Plaintiffs File Lawsuits Targeting Small
         Business Owners to Make Money and Not For the Purpose
         of Enforcing the ADA.
         Each year, serial ADA plaintiffs file thousands of boilerplate

ADA lawsuits on behalf of a few repeat plaintiffs (“Serial Filers”)

against California small businesses with little regard to whether

those businesses actually violate the ADA and solely for the purpose

of demanding monetary settlements. These lawsuits often target

businesses in marginalized communities, particularly those that have

large populations of immigrants and residents who do not speak

English or for whom English is a second language.                  These

defendants are generally less familiar with the intricacies of the

American legal system, and are more likely to settle out of fear.

These communities can rarely afford the risk and expense of

mounting a defense in court, particularly since many are focused on

maintaining their most basic living needs. As a result, each year, the

significant majority of ADA litigation results in small businesses

paying cash settlements, regardless of whether the businesses

actually violate the ADA or have defenses available to them to fight

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the litigation. They simply have no other option.

         In 2019, the State Bar of California issued the California

Justice Gap Study where it reported that “[m]any Californians who

do not qualify for legal aid based on their income may not be able

to afford a private attorney, who have average hourly rates of $323

in California.2 The study further found that:

                  Access to justice is a core tenet of our legal
                  system. Unlike in criminal matters, there is no
                  right to counsel in civil matters[…] Many
                  Californians, regardless of income,         are
                  navigating critical civil legal issues without
                  legal    representation or meaningful legal
                  assistance— […] Despite all these efforts to
                  increase funding and provide programmatic
                  support and coordination, the justice gap in
                  California persists and may be growing. […]
                  California is the third-largest geographically,
                  and most populous, state in the country, with
                  concentrated urban centers and isolated rural
                  counties; no single ethnic group has a majority
                  population, making California a majority-
                  minority state; California boasts the largest
                  veteran population in the country; and nearly
                  10 million Californians are immigrants.
Id. at 5.

         Given California’s diverse population and the recognition of
2 Found at

https://www.calbar.ca.gov/Portals/0/documents/accessJustice/J
ustice-Gap-Study-Executive-Summary.pdf at 16.
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the justice gap in underrepresented groups in civil litigation, the

Court’s decision in Langer v. Kiser will only serve to exacerbate the

inequities that already exist in defending against serial litigation.

         In 2021, ADA litigation in the U.S. District Court for the

Northern District of California exploded, tripling from 2020. Of

those lawsuits, nearly 85 percent were brought by one law firm and

on behalf of their serial litigants. Even using conservative estimates,

the earnings for the law firm from its ADA litigation was likely over

$60 million from 2018 to 2022 alone.3

         This forced transfer of wealth in just a few years’ time is a

small glimpse into the devastation that will undoubtedly be felt

subsequent to the order issued in Langer v. Kiser. The Court has

simply made it even easier now to file ADA cases and to collect

quick settlements from defendants. The Court’s nullification of the

important procedural requirement of Constitutional standing,

whereby any disabled person can claim to be an ADA “tester”

without any intent to use, enjoy or benefit from the goods and


3 Found at www.localnewsmatters.org/2022/10/13/clear-lies-federal-

judge-forces-ada-plaintiff-attorneys-to-pay-fine-for-bad-faith-lawsuits/.
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services of a place of public accommodation, will expose tens of

thousands of businesses from historically underrepresented and

marginalized groups and decimate local diverse businesses and

communities.

         Amici Curiae believe that the decision in Langer v. Kiser must

be reversed.            While the Court’s suggestion that the rights of a

“tester” are limitless, this concept is simply incompatible with a

judicial system founded on the principle that any person, regardless

of income, must be provided with the protections guaranteed by the

Constitution, including the limits on standing as articulated by

Article III. Indeed, our legal system only perseveres when the

weakest is protected by it.

II.      Constitutional Standing Requirements Must Be Followed
         As They Serve a Critical Gatekeeping Function Against
         Meritless and Predatory Litigation and Protect
         Communities.
         As U.S. Supreme Court case law states, to have Article III

standing, a plaintiff must have suffered (1) an injury in fact; (2) that

is fairly traceable to the defendant; and (3) is likely to be redressed

by a favorable decision. See Lujan v. Defenders of Wildlife (1992)


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504 U.S. 555, 560-61. Importantly, “Article III standing requires a

concrete injury even in the context of a statutory violation”—that is,

even if the business in question violated the ADA, the lawsuit

cannot go forward if. that specific plaintiff lacks standing.            See

Spoken, Inc. v. Robins (2016) 136 S.Ct. 1540, 1549. “Only those

plaintiffs who have been concretely harmed by a defendant’s

statutory violation may sue that private defendant over that violation

in federal court . . . . Article III grants federal courts the power to

redress harms that defendants cause plaintiffs, not a freewheeling

power to hold defendants accountable for legal infractions.” Trans

Union, LLC v. Ramirez (2021) 141 S.Ct. 2190, 2205 (“No concrete

harm, no standing.”).

         Contrary to the Court’s ruling in Langer v. Kiser, the Supreme

Court has confirmed that private plaintiffs must possess Article III

standing to sue. In the Supreme Court’s own words from its June

25, 2021 decision in TransUnion:

              “Under Article III, federal courts do not adjudicate
               hypothetical or abstract disputes. Federal courts do not
               possess a roving commission to publicly opine on every
               legal question. Federal courts do not exercise general
               legal oversight of the Legislative and Executive

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                  Branches, or of private entities. And federal courts do
                  not issue advisory opinions.” Id. at 2203;

              “For standing purposes, therefore, an important
               difference exists between (i) a plaintiff's statutory cause
               of action to sue a defendant over the defendant's
               violation of federal law, and (ii) a plaintiff's suffering
               concrete harm because of the defendant's violation of
               federal law. Congress may enact legal prohibitions and
               obligations. And Congress may create causes of action
               for plaintiffs to sue defendants who violate those legal
               prohibitions or obligations. But under Article III, an
               injury in law is not an injury in fact. Only those
               plaintiffs who have been concretely harmed by a
               defendant's statutory violation may sue that private
               defendant over that violation in federal court. As then-
               Judge Barrett succinctly summarized, ‘Article III grants
               federal courts the power to redress harms that
               defendants cause plaintiffs, not a freewheeling power to
               hold defendants accountable for legal
               infractions.’ Casillas, 926 F.3d at 332.” Id. at 2205; and

              “[I]f the law of Article III did not require plaintiffs to
               demonstrate a ‘concrete harm,’ Congress could
               authorize virtually any citizen to bring a statutory
               damages suit against virtually any defendant who
               violated virtually any federal law. Such an expansive
               understanding of Article III would flout constitutional
               text, history, and precedent. In our view, the public
               interest that private entities comply with the law cannot
               ‘be converted into an individual right by a statute that
               denominates it as such, and that permits all citizens (or,
               for that matter, a subclass of citizens who suffer no
               distinctive concrete harm) to sue.’ Lujan, 504 U.S., at
               576-577, 112 S.Ct. 2130.” Id. at 2206.
         The above excerpts from the Supreme Court’s 2021


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TransUnion decision make clear that the concept of “tester”

standing under Title III of the ADA cannot survive judicial scrutiny.

Simply put, ADA “testers” who suffer no personal or concrete harm,

cannot file boilerplate ADA lawsuits merely to bring businesses into

compliance with the ADA.

III. Title III of the ADA Has Explicit Language Limiting
     Litigation to Commercial Transactions, and Expanding
     the Right to Sue to “Testers” Violates the Separation of
     Powers of Government.
         Not only has the Court in Langer v. Kiser ignored the

Constitutional mandates as to Article III standing, but the decision

has further eroded the express requirements and limitations of Title

III of the ADA. The ADA’s text expressly confirms that an ADA

plaintiff suing under Title III must be an actual or intended customer

or user of a business’s goods or services and not merely an

inspector, private attorney general or civil rights advocate desiring

to enforce federal laws. The ADA’s purpose, as evidenced in the

explicit text of the statute, is to protect a disabled person’s right to

the “enjoyment” of the “goods, services, facilities [. . .]” of a

defendant business in commercial transactions:


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                  No individual shall be discriminated against on
                  the basis of disability in the full and equal
                  enjoyment of the goods, services, facilities,
                  privileges, advantages, or accommodations
                  of any place of public accommodation by any
                  person who owns, leases (or leases to), or
                  operates a place of public accommodation.
42 U.S.C. §12182 (a) (emphasis added).

         Congress intentionally included the word “enjoyment” and

“goods,          services,   facilities,    privileges,   advantages,    or

accommodations” in the text of the statute to ensure that disabled

persons are guaranteed to “enjoy” the same “goods”, “services” and

other business offerings when engaging in commercial transactions.

Indeed, the introduction to Title III of the ADA expressly dictates

that this section of the Act applies to places of “public

accommodation” which it defines as those whose operations affect

commerce. See 42 U.S.C. §12182 (7). Therefore, only when there

is a denial of such business/commercial benefit does a disabled

plaintiff have a “personal” stake in the case or controversy.

         The Court in Langer v. Kiser has ignored Title III’s limitations

and created an entirely new class of private attorney-general

litigation, which is unsupported by the ADA. In the process, the

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Court has eroded the separation of powers that exists between the

judiciary and the legislative and executive branches of government.

The Supreme Court in TransUnion cautioned against such an

approach:

                  A regime where Congress could freely
                  authorize unharmed plaintiffs to sue defendants who
                  violate federal law not only would violate Article III but
                  also would infringe on the Executive Branch’s Article II
                  authority. We accept the “displacement of the
                  democratically elected branches when necessary to
                  decide an actual case.” Roberts, 42 Duke L. J., at 1230.
                  But otherwise, the choice of how to prioritize and how
                  aggressively to pursue legal actions against defendants
                  who violate the law falls within the discretion of the
                  Executive Branch, not within the purview of private
                  plaintiffs (and their attorneys). Private plaintiffs are not
                  accountable to the people and are not charged with
                  pursuing the public interest in enforcing a defendant’s
                  general compliance with regulatory law.

TransUnion, 141 S.Ct. at 2207.

CONCLUSION

         For the reasons set forth above, Amici Curiae respectfully

request that the Court grant the Kisers’ petition for rehearing en

banc.

                                           Respectfully submitted,



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Dated: February 16, 2023
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                        UNITED STATES COURT OF APPEALS
                             FOR THE NINTH CIRCUIT

                          CERTIFICATE OF COMPLIANCE

9th Cir. Case Number(s) 21-55183

         The undersigned certified that pursuant to Federal Rule of Appellate

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Signature /s/Hayley S. Grunvald                       Date 02/16/2023




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  Benevolent Association, Quong Fook Tong Association and Yee Fung Toy
  Family Association

        IN SUPPORT OF MILAN KISER, DIANA KISER PETITION FOR
                        REHEARING EN BANC


Signature /s/ Hayley S. Grunvald                      Date 02/16/2023




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